     Case 2:10-cv-01823-JLR Document 289-5 Filed 04/20/12 Page 1 of 8




                    EXHIBIT 59




63
     Case 2:10-cv-01823-JLR Document 289-5 Filed 04/20/12 Page 2 of 8




64
     Case 2:10-cv-01823-JLR Document 289-5 Filed 04/20/12 Page 3 of 8




65
     Case 2:10-cv-01823-JLR Document 289-5 Filed 04/20/12 Page 4 of 8




66
     Case 2:10-cv-01823-JLR Document 289-5 Filed 04/20/12 Page 5 of 8




67
     Case 2:10-cv-01823-JLR Document 289-5 Filed 04/20/12 Page 6 of 8




68
     Case 2:10-cv-01823-JLR Document 289-5 Filed 04/20/12 Page 7 of 8




69
     Case 2:10-cv-01823-JLR Document 289-5 Filed 04/20/12 Page 8 of 8




70
